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                    ATTACHMENT
                              A
                  Redacted Docket Materials
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                   UNITED STATES MAGISTRATE JUDGE
                     U.S. DISTRICT COURT BUILDING
                            WASHINGTON, D.C.
PLEASE ISSUE:           [     ] Arrest    [ X] Search [ ] Seizure


                            INFORMATION ASSOCIATED WITH ONE ACCOUNT STORED
  Warrant for:
                            AT PREMISES CONTROLLED BY FACEBOOK, INC. PURSUANT
                            TO 18 U.S.C. 2703 FOR INVESTIGATION OF VIOLATION OF 18
                            U.S.C. 2101

Violation:       [ ] D.C.C.              [X] U.S.C.    [X] C.F.R. Title: 18

Section(s):      2101

Date:            June 26, 2020

AUSA:            Luke M. Jones
                 Assistant United States Attorney

Phone:           (202) 252-7066

Email:           luke.jones@usdoj.gov


COMPLETE FOR ALL WARRANTS:

Thefollowing information must be providedfor ALL warrants.

Officer / Agent Name:

Badge/Agent Number:

Agency / Unit:

Officer/Agent's 24 Hour Telephone Number (i.e., cell number):
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                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                               District of Columbia

                In the Matter of the Search of
       (Brie& describe the property to he searched
        or identVi• the person by name and address)                                       Case No. 20-SC-1616
INFORMATION ASSOCIATED WITH ONE ACCOUNT STORED
    AT PREMISES CONTROLLED BY FACEBOOK, INC.
  PURSUANT TO 18 U.S.C. 2703 FOR INVESTIGATION OF
               VIOLATION OF 18 U.S.C. 2101

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identift the person or describe the
po.operty to he searched and give its location):
  See Attachment A incorporated herein and included as part of the Affidavit in Support of this Application for a Search
  Warrant
located in the             Northern             District of California              , there is now concealed (identify the
person (rr describe the property to he seized):
 See Attachment B incorporated herein and included as part of the Affidavit in Support of this Application for a Search
  Warrant

          The basis for the search under Fed. R. Crim. P. 41(c) is (check One or more):
                  evidence of a crime:
                     contraband, fruits of crime, or other items illegally possessed;
                  O property designed for use, intended for use, or used in committing a crime;
                  Cl a person to be arrested or a person who is unlawfUlly restrained.

          The search is related to a violation of:
                Code Section                                                             Offense Description
        18 U.S.C. § 2101                           Violations of the Federal Riot Act



         The application is based on these facts:
        See attached Affidavit

           O Continued on the attached sheet.
           O Delayed notice of        days (give exact ending date i more than 30 dars -                                   ) is requested under
             IS U.S.C. § 3103a, the basis of which is se




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specilr reliable electronic means.t.


Date:             06/26/2020
                                                                                                      Judge:x. signattm.

City and state: Washington, D.C.                                                        Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                    Primcd name and title
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AO 93C (�����) �������������������������������������������������������               � Original                � Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
           (Briefly describe the property to be searched                    )
            or identify the person by name and address)                     )      Case No. 20-SC-1616
       INFORMATION ASSOCIATED WITH ONE ACCOUNT                              )
     STORED AT PREMISES CONTROLLED BY FACEBOOK,
    INC. PURSUANT TO 18 U.S.C. 2703 FOR INVESTIGATION
                                                                            )
                OF VIOLATION OF 18 U.S.C. 2101                              )

                 �������������������������������������������������������
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search�������������
of the following person or property located in the�                        Northern  District of            California
(identify the person or describe the property to be searched and give its location):
  See Attachment A incorporated herein and included as part of the Affidavit in Support of this Application for a Search Warrant




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B incorporated herein and included as part of the Affidavit in Support of this Application for a Search Warrant




        YOU ARE COMMANDED to execute this warrant on or before                   July 10, 2020         (not to exceed 14 days)
      � in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               � at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to           U.S. Magistrate Judge Robin M. Meriweather        .
                                                                                                  (United States Magistrate Judge)

     � Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     � for         days (not to exceed 30) � until, the facts justifying, the later specific date of                                   .


Date and time issued:          06/26/2020
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                       Robin M. Meriweather U.S. Magistrate Judge
                                                                                                        Printed name and title
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                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 20-SC-1616
Inventory made in the presence of :

Inventory of the property taken and name��� of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                    ATTACHMENT A
                                  Property to Be Searched


       This warrant applies to information which is associated with the Instagram account(s)

identified by


       Instagram Account:


and which is stored at premises owned, maintained, controlled, or operated by Facebook, Inc, a

company that accepts service of legal process at 1601 Willow Road, Menlo Park, California.
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                                       ATTACHMENT B

                                 Particular Things to be Seized

I.      Information to be disclosed by Facebook Inc.

        To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook, Inc. including any messages, records, files, logs, or information

that have been deleted but are still available to Facebook, Inc. or have been preserved pursuant to

a request made under 18 U.S.C. § 2703(f), Facebook, Inc. is required to disclose the following

information to the government for each account listed in Attachment A:

        a.     All identity and contact information, including full name, e-mail address, physical
               address (including city, state, and zip code), date of birth, phone numbers, gender,
               hometown, occupation, and other personal identifiers;
        b.     All past and current usernames associated with the account;
        c.     The dates and times at which the account and profile were created, and the
               Internet Protocol (“IP”) address at the time of sign-up;
        d.     All activity logs including IP logs and other documents showing the IP address,
               date, and time of each login to the account, as well as any other log file
               information;
        e.     All information regarding the particular device or devices used to login to or
               access the account, including all device identifier information or cookie
               information, including all information about the particular device or devices used
               to access the account and the date and time of those accesses;
        f.     All data and information associated with the profile page, including photographs,
               “bios,” and profile backgrounds and themes;
        g.     All communications or other messages sent or received by the account May 25,
               2020 to the Present
        h.     All user content created, uploaded, or shared by the account, including any
               comments made by the account on photographs or other content May 25, 2020 to
               the Present
        i.     All photographs and images in the user gallery for the account May 25, 2020 to
               the Present
        j.     All location data associated with the account, including geotags May 25, 2020 to
               the Present

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       k.      All data and information that has been deleted by the user May 25, 2020 to the
               Present

       1.      A list of all of the people that the user follows on Instagram and all people who
               are following the user (i.e., the user's "following" list and "followers" list), as
               well as any friends of the user;

       m.      A list of all users that the account has "unfollowed" or blocked;

       n.      All privacy and account settings;

       o.      All records of Instagram searches performed by the account, including all past
               searches saved by the account May 25, 2020 to the Present

       P.      All information about connections between the account and third-party websites
               and applications; and,

       q.      All records pertaining to communications between Facebook, Inc. and any person
               regarding the user or the user's Instagram account, including contacts with
               support services, and all records of actions taken, including suspensions of the
               account.

       Within fourteen days of the issuance of this warrant, PROVIDER shall deliver the

information set forth above via United States mail, courier, or e-mail to the following:




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II.      Information to be seized by the government

All information described above in Section I that constitutes fruits, evidence, and instrumentalities

of violations of 18 U.S.C. § 2101, including, for each user ID identified on Attachment A,

information pertaining to the following matters:

                a. Incitement or promotion or rioting in Washington, DC, between May 25, 2020

                   and present.

                b. Evidence indicating how and when the Instagram account was accessed or used,

                   to determine the chronological and geographic context of account access, use,

                   and events relating to the crime under investigation and to the Instagram

                   account owner;

                c. Evidence indicating the Instagram account owner’s state of mind as it relates to

                   the crime under investigation;

                d. The identity of the person(s) who created or used the user ID, including records

                   that help reveal the whereabouts of such person(s).

                e. The identity of the person(s) who communicated with the user ID matters

                   relating to, including records that help reveal their whereabouts.

         This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence, fruits,

and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the




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disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




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III.   Government procedures for warrant execution

       The United States government will conduct a search of the information produced by the

PROVIDER and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

       Law enforcement personnel will then seal any information from the PROVIDER that does

not fall within the scope of Section II and will not further review the information absent an order

of the Court. Such sealed information may include retaining a digital copy of all information

received pursuant to the warrant to be used for authentication at trial, as needed.




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                    CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                     RECORDS PURSUANT TO FEDERAL RULES OF
                            EVIDENCE 902(11) AND 902(13)

        I, _________________________________, attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. I am employed by _________________________________
(“PROVIDER”), and my title is ____________________________________________________.
I am a custodian of records for PROVIDER, and I am qualified to authenticate the records attached
hereto because I am familiar with how the records were created, managed, stored, and retrieved. I
state that the records attached hereto are true duplicates of the original records in the custody of
PROVIDER. The attached records consist of:

        ________________________________________________________________________
        [GENERALLY DESCRIBE RECORDS (pages/CDs/megabytes)]

        I further state that:

        a.     all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with knowledge
of those matters, they were kept in the ordinary course of the regularly conducted business activity
of PROVIDER, and they were made by PROVIDER as a regular practice; and

       b.     such records were generated by PROVIDER’s electronic process or system that
produces an accurate result, to wit:

                1.     the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of PROVIDER in a manner to ensure that they are true duplicates of the
original records; and

                2.     the process or system is regularly verified by PROVIDER, and at all times
pertinent to the records certified here the process and system functioned properly and normally.

       I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the
Federal Rules of Evidence.




 Date                                 Signature
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH
ONE ACCOUNT STORED AT
                                                 SC No. 20-sc-1616
PREMISES CONTROLLED BY
FACEBOOK, INC. PURSUANT TO 18
                                                 Filed Under Seal
U.S.C. 2703 FOR INVESTIGATION OF
VIOLATION OF 18 U.S.C. 2101



Reference:     USAO Ref. #                Subject Account(s): Instagram Account:



                           AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR A SEARCH WARRANT

       I                 being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant for

information which is associated with one account — that is,                    (the "SUBJECT

INSTAGRAM ACCOUNT") — which is stored at premises controlled by Facebook, Inc.

("PROVIDER"), an electronic communications services provider and/or remote computing

services provider which is headquartered at 1601 Willow Road, Menlo Park, California. The

information to be searched is described in the following paragraphs and in Attachment A. This

affidavit is made in support of an application for a search warrant under 18 U.S.C. §§ 2703(a),

2703(b)(1)(A), and 2703(c)(1)(A) to require PROVIDER to disclose to the government copies of

the information (including the content of communications) further described in Section I of

Attachment B.    Upon receipt of the information described in Section I of Attachment B,

government-authorized persons will review that information to locate the items described in

Section II of Attachment B, using the procedures described in Section III of Attachment B.
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       4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all of my knowledge, or the knowledge of others, about this matter.

       5.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 18 U.S.C. § 2101

(Rioting) have been committed by the user of the SUBJECT INSTAGRAM ACCOUNT. There




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is also probable cause to search the information described in Attachment A for evidence,

instrumentalities, contraband or fruits of these crimes further described in Attachment B.

                                            JURISDICTION

        6.      This Court has jurisdiction to issue the requested warrant because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), and

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

acts or omissions in furtherance of the offenses under investigation occurred within Washington,

DC. See 18 U.S.C. § 3237.

                                           PROBABLE CAUSE

        7.      The probable cause for this warrant comes from suspected violations of the

Federal Riot Act, 18 U.S.C. § 2101, which reads, in part:

        (a) Whoever travels in interstate or foreign commerce or uses any facility of
        interstate or foreign commerce, including, but not limited to, the mail, telegraph,
        telephone, radio, or television, with intent--

                (1) to incite a riot; or

                (2) to organize, promote, encourage, participate in, or carry on a riot; or

                (3) to commit any act of violence in furtherance of a riot; or

                (4) to aid or abet any person in inciting or participating in or carrying on a
                riot or committing any act of violence in furtherance of a riot;

                and who either during the course of any such travel or use or thereafter
                performs or attempts to perform any other overt act for any purpose
                specified in subparagraph (A),(B), (C), or (D) of this paragraph—

                Shall be fined under this title, or imprisoned not more than five years, or
                both.




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         8.    Under 18 U.S.C. § 2102(a), the term "riot" means "a public disturbance involving

(1) an act or acts of violence by one or more persons part of an assemblage of three or more

persons, which act or acts shall constitute a clear and present danger of, or shall result in, damage

or injury to the property of any other person or to the person of any other individual or (2) a threat

or threats of the commission of an act or acts of violence by one or more persons part of an

assemblage of three or more persons having, individually or collectively, the ability of immediate

execution of such threat or threats, where the performance of the threatened act or acts of violence

would constitute a clear and present danger of, or would result in, damage or injury to the property

of any other person or to the person of any other individual."

                                          Twitter Account

         9.    On Thursday, May 28, 2020, law enforcement agencies in the District of Columbia

were made aware of a protests scheduled for May 28 and 29, 2020, that were organized in response

to                                                                       and were promoted by the

SUBJECT TWITTER ACCOUNT, which contained an avatar of an individual, as shown below:




         10.   On May 28, 2020, and as shown below, the SUBJECT TWITTER ACCOUNT also

posted the following text:




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       11.     Your Affiant other law enforcement officers were assigned to observe and

coordinate resources for local law enforcement and the FBI in connection with protests within the

District of Columbia during this period, and your affiant and other officers personally observed

acts beginning on Friday, May 29, 2020, that appeared to satisfy the statutory definition of "riot,"

including the intentional burning of trees and trash cans, assaults on law enforcement with bricks

and glass bottles, the destruction of private property, including the smashing of glass on

storefronts, and the theft and looting of items from within stores, including at

       12.     On Saturday, May 30, 2020, and as shown below, the SUBJECT TWITTER

ACCOUNT tweeted,




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       13.    On Sunday, May 31, 2020, and as shown below, law enforcement observed that the

SUBJECT TWITTER ACCOUNT tweeted,




       14.    At some point after these tweets, the SUBJECT TWITTER ACCOUNT was

suspended based on an apparent violation of Twitter's terms of service.




       15.    Law enforcement submitted a preservation letter to Twitter, preserving the contents

of the SUBJECT TWITTER ACCOUNT.

       16.    Your Affiant used                    to review tweets and replies from the Subject

Account that were retained by Google.                     temporarily stores pages from websites,

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even if they are later altered, and is a useful open source method to view previous versions of

webpages.

       17.     Based on the the                review, your affiant observed that, under the tweet

from the SUBJECT TWITTER ACCOUNT advertising th

the user of Twitter account                  identified himself as

                                             The user of the SUBJECT TWITTER ACCOUNT

identified himself as




       18.     In the same review, your Affiant noted that two Twitter accounts cited concerns

regarding the event, stating that it was not a peaceful protest and suggesting Government buildings

be burned, as shown below.




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      19.   On a separate Twitter thread, the Twitter account for

                 tweeted that it had no affiliation with an event promoted by the Subject

Account, and, and the SUBJECT TWITTER ACCOUNT replied:




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       20.     Your Affiant notes that throughout law enforcement reporting, cached recovery,

and personal observation, the Twitter vanity name of the SUBJECT TWITTER ACCOUNT

changed from                                                                   Based on training,

investigative experience, and personal experience, however, your affiant knows the vanity name

on a Twitter account can be changed by a user and that changes do not typically reflect that a

different user is using the account.

                                           Instagram Account

       21.     During its investigation, law enforcement identified an Instagram account under the

name                 (the "SUBJECT INSTAGRAM ACCOUNT") which utilizes the same avatar

photo as the SUBJECT TWITTER ACCOUNT, as shown below.




       22.     The SUBJECT INSTAGRAM ACCOUNT contained 23 posts starting on May 27,

2020, and relating to protest activity in Washington, DC. For example, on May 28, 2020, and as

shown below, the SUBJECT INSTAGRAM ACCOUNT posted,

                                                                                           In the

comments section to the Instagram post, the user states,

                                                                   These stores are all located in

the                             where apparent rioting activity was observed




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      23.     The SUBJECT INSTAGRAM ACCOUNT also posted a photo of a television

screen showing what appears to have been                      of the account user regarding

protest activity, as well as an overhead photograph of protest activity.   Instagram user




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                           GoFundMe Page and User's True Name

         24.   The SUBJECT INSTAGRAM ACCOUNT has a web link to a GoFundMe page

that appears to have raised over =related   to the protests referenced above. The creator of the

GoFundMe page is listed as                         and the creator identifies himself as



         25.   Law Enforcement database queries of                     provided a positive return

of

The                          for               is consistent with the photos from the SUBJECT

TWITTER ACCOUNT and the SUBJECT INSTAGRAM ACCOUNT.

         26.   Based on the information above, your affiant submits there is probable cause to

believe that violations of 18 U.S.C. § 2101 (Rioting) have been committed by the user of the

SUBJECT TWITTER ACCOUNT AND SUBJECT INSTAGRAM ACCOUNT, and that acts or

omissions in furtherance of the offenses under investigation occurred within Washington, DC.

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There is also probable cause to search the information described in Attachment A for evidence,

instrumentalities, contraband or fruits of these crimes further described in Attachment B.

               BACKGROUND CONCERNING PROVIDER’S ACCOUNTS

       27.     PROVIDER owns and operates a free-access social-networking website that can be

accessed at http://www.instagram.com. PROVIDER allows its users to create their own profile

pages, which can include a short biography, a photo of themselves, and other information. Users

can access Instagram through the Instagram website or by using a special electronic application

(“app”) created by the company that allows users to access the service through a mobile device.

       28.     PROVIDER permits users to post photos to their profiles on Instagram and

otherwise share photos with others on Instagram, as well as certain other social-media services,

including Flickr, Facebook, and Twitter. When posting or sharing a photo on Instagram, a user

can add to the photo: a caption; various “tags” that can be used to search for the photo (e.g., a user

made add the tag #vw so that people interested in Volkswagen vehicles can search for and find the

photo); location information; and other information. A user can also apply a variety of “filters” or

other visual effects that modify the look of the posted photos. In addition, Instagram allows users

to make comments on posted photos, including photos that the user posts or photos posted by other

users of Instagram. Users can also “like” photos.

       29.       Upon creating an Instagram account, an Instagram user must create a unique

Instagram username and an account password. This information is collected and maintained by

Instagram.

       30.     Instagram asks users to provide basic identity and contact information upon

registration and also allows users to provide additional identity information for their user profile.

This information may include the user’s full name, e-mail addresses, and phone numbers, as well



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as potentially other personal information provided directly by the user to Instagram. Once an

account is created, users may also adjust various privacy and account settings for the account on

Instagram. Instagram collects and maintains this information.

        31.     Instagram allows users to have “friends,” which are other individuals with whom

the user can share information without making the information public. Friends on Instagram may

come from either contact lists maintained by the user, other third-party social media websites and

information, or searches conducted by the user on Instagram profiles. Instagram collects and

maintains this information.

        32.     Instagram also allows users to “follow” another user, which means that they receive

updates about posts made by the other user. Users may also “unfollow” users, that is, stop

following them or block the, which prevents the blocked user from following that user.

        33.     Instagram allow users to post and share various types of user content, including

photos, videos, captions, comments, and other materials. Instagram collects and maintains user

content that users post to Instagram or share through Instagram.

        34.     Instagram users may send photos and videos to select individuals or groups via

Instagram Direct. Information sent via Instagram Direct does not appear in a user’s feed, search

history, or profile.

        35.     Users on Instagram may also search Instagram for other users or particular types of

photos or other content.

        36.     For each user, Instagram also collects and retains information, called “log file”

information, every time a user requests access to Instagram, whether through a web page or

through an app. Among the log file information that Instagram’s servers automatically record is

the particular web requests, any Internet Protocol (“IP) address associated with the request, type



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of browser used, any referring/exit web pages and associated URLs, pages viewed, dates and times

of access, and other information.

       37.     Instagram also collects and maintains “cookies,” which are small text files

containing a string of numbers that are placed on a user’s computer or mobile device and that

allows Instagram to collect information about how a user uses Instagram. For example, Instagram

uses cookies to help users navigate between pages efficiently, to remember preferences, and to

ensure advertisements are relevant to a user’s interests.

       38.     Instagram also collects information on the particular devices used to access

Instagram. In particular, Instagram may record “device identifiers,” which includes data files and

other information that may identify the particular electronic device that was used to access

Instagram.

       39.     Instagram also collects other data associated with user content. For example,

Instagram collects any “hashtags” associated with user content (i.e., keywords used), “geotags”

that mark the location of a photo and which may include latitude and longitude information,

comments on photos, and other information.

       40.     Instagram also may communicate with the user, by email or otherwise. Instagram

collects and maintains copies of communications between Instagram and the user.

       41.     As explained herein, information stored in connection with an Instagram account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, an

Instagram user’s account activity, IP log, stored electronic communications, and other data

retained by Instagram, can indicate who has used or controlled the Instagram account. This “user



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attribution” evidence is analogous to the search for “indicia of occupancy” while executing a

search warrant at a residence. For example, profile contact information, direct messaging logs,

shared photos and videos, and captions (and the data associated with the foregoing, such as geo-

location, date and time) may be evidence of who used or controlled the Instagram account at a

relevant time. Further, Instagram account activity can show how and when the account was

accessed or used. For example, as described herein, Instagram logs the Internet Protocol (IP)

addresses from which users access their accounts along with the time and date. By determining

the physical location associated with the logged IP addresses, investigators can understand the

chronological and geographic context of the account access and use relating to the crime under

investigation.    Such information allows investigators to understand the geographic and

chronological context of Instagram access, use, and events relating to the crime under

investigation. Additionally, Instagram builds geo-location into some of its services. Geo-location

allows, for example, users to “tag” their location in posts and Instagram “friends” to locate each

other. This geographic and timeline information may tend to either inculpate or exculpate the

Instagram account owner. Last, Instagram account activity may provide relevant insight into the

Instagram account owner’s state of mind as it relates to the offense under investigation. For

example, information on the Instagram account may indicate the owner’s motive and intent to

commit a crime (e.g., information indicating a plan to commit a crime), or consciousness of guilt

(e.g., deleting account information in an effort to conceal evidence from law enforcement).

       42.       Based on the information above, the computers of Instagram are likely to contain

all the material described above with respect to the SUBJECT INSTAGRAM ACCOUNT,

including stored electronic communications and information concerning subscribers and their use

of Instagram, such as account access information, which would include information such as the IP



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addresses and devices used to access the account, as well as other account information that might

be used to identify the actual user or users of the account at particular times.

                    REQUEST TO SUBMIT WARRANT BY TELEPHONE
                      OR OTHER RELIABLE ELECTRONIC MEANS

       43.       I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for a Search Warrant. I submit that Assistant U.S. Attorney Luke

Jones, an attorney for the United States, is capable of identifying my voice and telephone number

for the Court.

                                          CONCLUSION

       44.       Based on the forgoing, I request that the Court issue the proposed search warrant.

Because the warrant will be served on PROVIDER, who will then compile the requested records

at a time convenient to it, there exists reasonable cause to permit the execution of the requested

warrant at any time in the day or night. Pursuant to 18 U.S.C. § 2703(g), the presence of a law

enforcement officer is not required for the service or execution of this warrant.

                                                    Respectfully submitted,




       Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on June 26th, 2020


       UNITED STATES MAGISTRATE JUDGE




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                   UNITED STATES MAGISTRATE JUDGE
                     U.S. DISTRICT COURT BUILDING
                            WASHINGTON, D.C.
PLEASE ISSUE:           [     ] Arrest    [ X] Search [ ] Seizure


                            INFORMATION ASSOCIATED WITH ONE ACCOUNT STORED
  Warrant for:
                            AT PREMISES CONTROLLED BY FACEBOOK, INC. PURSUANT
                            TO 18 U.S.C. 2703 FOR INVESTIGATION OF VIOLATION OF 18
                            U.S.C. 2101

Violation:       [ ] D.C.C.              [X] U.S.C.    [X] C.F.R. Title: 18

Section(s):      2101

Date:            June 26, 2020

AUSA:            Luke M. Jones
                 Assistant United States Attorney

Phone:           (202) 252-7066

Email:           luke.jones@usdoj.gov


COMPLETE FOR ALL WARRANTS:

Thefollowing information must be providedfor ALL warrants.

Officer / Agent Name:

Badge/Agent Number:

Agency / Unit:

Officer/Agent's 24 Hour Telephone Number (i.e., cell number):
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                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                               District of Columbia

              In the Matter of the Search of
       (Brie& describe the property to he searched
        or idenqi• the person hr name and address)                                        Case No. 20-SC-1616
INFORMATION ASSOCIATED WITH ONE ACCOUNT STORED
    AT PREMISES CONTROLLED BY FACEBOOK, INC.
  PURSUANT TO 18 U.S.C. 2703 FOR INVESTIGATION OF
              VIOLATION OF 18 U.S.C. 2101

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identift the person or describe the
po.operty to he searched and give its location):
  See Attachment A incorporated herein and included as part of the Affidavit in Support of this Application for a Search
  Warrant
located in the            Northern             District of  California              , there is now concealed (identity the
person or describe the property to he seized):
  See Attachment B incorporated herein and included as part of the Affidavit in Support of this Application for a Search
  Warrant

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               sf evidence of a crime:
                 4 contraband, fruits of crime, or other items illegally possessed;
                 O property designed for use, intended for use, or used in committing a crime;
                 Cl a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                                Offense Description
        18 U.S.C. § 2101                           Violations of the Federal Riot Act



         The application is based on these facts:
        See attached Affidavit

           O Continued on the attached sheet.
           O Delayed notice of        days (give exact ending date if more than 30 days•                                    ) is requested under
             IS U.S.C. § 3103a, the basis of which is sc'




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (spec* reliable electronic meansi.
                                                                                                                  2020.06.26 18:49:33
Date:            06/26/2020                                                                                       -04'00'
                                                                                                      Judge signaturi.

City and state: Washington, D.C.                                                        Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                    Printed   /Wine and   tithe
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                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
           (Briefly describe the property to be searched                    )
            or identify the person by name and address)                     )      Case No. 20-SC-1616
       INFORMATION ASSOCIATED WITH ONE ACCOUNT                              )
     STORED AT PREMISES CONTROLLED BY FACEBOOK,
    INC. PURSUANT TO 18 U.S.C. 2703 FOR INVESTIGATION
                                                                            )
                OF VIOLATION OF 18 U.S.C. 2101                              )

                 �������������������������������������������������������
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search�������������
of the following person or property located in the�                        Northern  District of            California
(identify the person or describe the property to be searched and give its location):
  See Attachment A incorporated herein and included as part of the Affidavit in Support of this Application for a Search Warrant




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B incorporated herein and included as part of the Affidavit in Support of this Application for a Search Warrant




        YOU ARE COMMANDED to execute this warrant on or before                   July 10, 2020         (not to exceed 14 days)
      � in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               � at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to           U.S. Magistrate Judge Robin M. Meriweather        .
                                                                                                  (United States Magistrate Judge)

     � Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     � for         days (not to exceed 30) � until, the facts justifying, the later specific date of                                      .
                                                                                                                    2020.06.26 18:49:53
                               06/26/2020
                                                                                                                    -04'00'
Date and time issued:
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                       Robin M. Meriweather U.S. Magistrate Judge
                                                                                                        Printed name and title
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                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 20-SC-1616
Inventory made in the presence of :

Inventory of the property taken and name��� of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                    ATTACHMENT A
                                  Property to Be Searched


       This warrant applies to information which is associated with the Instagram account(s)

identified by


       Instagram Account:


and which is stored at premises owned, maintained, controlled, or operated by Facebook, Inc, a

company that accepts service of legal process at 1601 Willow Road, Menlo Park, California.
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                                       ATTACHMENT B

                                 Particular Things to be Seized

I.      Information to be disclosed by Facebook Inc.

        To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook, Inc. including any messages, records, files, logs, or information

that have been deleted but are still available to Facebook, Inc. or have been preserved pursuant to

a request made under 18 U.S.C. § 2703(f), Facebook, Inc. is required to disclose the following

information to the government for each account listed in Attachment A:

        a.     All identity and contact information, including full name, e-mail address, physical
               address (including city, state, and zip code), date of birth, phone numbers, gender,
               hometown, occupation, and other personal identifiers;
        b.     All past and current usernames associated with the account;
        c.     The dates and times at which the account and profile were created, and the
               Internet Protocol (“IP”) address at the time of sign-up;
        d.     All activity logs including IP logs and other documents showing the IP address,
               date, and time of each login to the account, as well as any other log file
               information;
        e.     All information regarding the particular device or devices used to login to or
               access the account, including all device identifier information or cookie
               information, including all information about the particular device or devices used
               to access the account and the date and time of those accesses;
        f.     All data and information associated with the profile page, including photographs,
               “bios,” and profile backgrounds and themes;
        g.     All communications or other messages sent or received by the account May 25,
               2020 to the Present
        h.     All user content created, uploaded, or shared by the account, including any
               comments made by the account on photographs or other content May 25, 2020 to
               the Present
        i.     All photographs and images in the user gallery for the account May 25, 2020 to
               the Present
        j.     All location data associated with the account, including geotags May 25, 2020 to
               the Present

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       k.      All data and information that has been deleted by the user May 25, 2020 to the
               Present

       1.      A list of all of the people that the user follows on Instagram and all people who
               are following the user (i.e., the user's "following" list and "followers" list), as
               well as any friends of the user;

       m.      A list of all users that the account has "unfollowed" or blocked;

       n.      All privacy and account settings;

       o.      All records of Instagram searches performed by the account, including all past
               searches saved by the account May 25, 2020 to the Present

       P.      All information about connections between the account and third-party websites
               and applications; and,

       q.      All records pertaining to communications between Facebook, Inc. and any person
               regarding the user or the user's Instagram account, including contacts with
               support services, and all records of actions taken, including suspensions of the
               account.

       Within fourteen days of the issuance of this warrant, PROVIDER shall deliver the

information set forth above via United States mail, courier, or e-mail to the following:




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II.      Information to be seized by the government

All information described above in Section I that constitutes fruits, evidence, and instrumentalities

of violations of 18 U.S.C. § 2101, including, for each user ID identified on Attachment A,

information pertaining to the following matters:

                a. Incitement or promotion or rioting in Washington, DC, between May 25, 2020

                   and present.

                b. Evidence indicating how and when the Instagram account was accessed or used,

                   to determine the chronological and geographic context of account access, use,

                   and events relating to the crime under investigation and to the Instagram

                   account owner;

                c. Evidence indicating the Instagram account owner’s state of mind as it relates to

                   the crime under investigation;

                d. The identity of the person(s) who created or used the user ID, including records

                   that help reveal the whereabouts of such person(s).

                e. The identity of the person(s) who communicated with the user ID matters

                   relating to, including records that help reveal their whereabouts.

         This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence, fruits,

and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the




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disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




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III.   Government procedures for warrant execution

       The United States government will conduct a search of the information produced by the

PROVIDER and determine which information is within the scope of the information to be seized

specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

       Law enforcement personnel will then seal any information from the PROVIDER that does

not fall within the scope of Section II and will not further review the information absent an order

of the Court. Such sealed information may include retaining a digital copy of all information

received pursuant to the warrant to be used for authentication at trial, as needed.




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                    CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                     RECORDS PURSUANT TO FEDERAL RULES OF
                            EVIDENCE 902(11) AND 902(13)

        I, _________________________________, attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct. I am employed by _________________________________
(“PROVIDER”), and my title is ____________________________________________________.
I am a custodian of records for PROVIDER, and I am qualified to authenticate the records attached
hereto because I am familiar with how the records were created, managed, stored, and retrieved. I
state that the records attached hereto are true duplicates of the original records in the custody of
PROVIDER. The attached records consist of:

        ________________________________________________________________________
        [GENERALLY DESCRIBE RECORDS (pages/CDs/megabytes)]

        I further state that:

        a.     all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with knowledge
of those matters, they were kept in the ordinary course of the regularly conducted business activity
of PROVIDER, and they were made by PROVIDER as a regular practice; and

       b.     such records were generated by PROVIDER’s electronic process or system that
produces an accurate result, to wit:

                1.     the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of PROVIDER in a manner to ensure that they are true duplicates of the
original records; and

                2.     the process or system is regularly verified by PROVIDER, and at all times
pertinent to the records certified here the process and system functioned properly and normally.

       I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the
Federal Rules of Evidence.




 Date                                 Signature
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH
ONE ACCOUNT STORED AT
                                                 SC No. 20-sc-1616
PREMISES CONTROLLED BY
FACEBOOK, INC. PURSUANT TO 18
                                                 Filed Under Seal
U.S.C. 2703 FOR INVESTIGATION OF
VIOLATION OF 18 U.S.C. 2101



Reference:    USAO Ref #                  Subject Account(s): Instagram Account:


                           AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR A SEARCH WARRANT

                         being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant for

information which is associated with one account — that is,                    (the "SUBJECT

INSTAGRAM ACCOUNT") — which is stored at premises controlled by Facebook, Inc.

("PROVIDER"), an electronic communications services provider and/or remote computing

services provider which is headquartered at 1601 Willow Road, Menlo Park, California. The

information to be searched is described in the following paragraphs and in Attachment A. This

affidavit is made in support of an application for a search warrant under 18 U.S.C. §§ 2703(a),

2703(b)(1)(A), and 2703(c)(1)(A) to require PROVIDER to disclose to the government copies of

the information (including the content of communications) further described in Section I of

Attachment B.    Upon receipt of the information described in Section I of Attachment B,

government-authorized persons will review that information to locate the items described in

Section II of Attachment B, using the procedures described in Section III of Attachment B.
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       4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all of my knowledge, or the knowledge of others, about this matter.

       5.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 18 U.S.C. § 2101

(Rioting) have been committed by the user of the SUBJECT INSTAGRAM ACCOUNT. There




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is also probable cause to search the information described in Attachment A for evidence,

instrumentalities, contraband or fruits of these crimes further described in Attachment B.

                                            JURISDICTION

        6.      This Court has jurisdiction to issue the requested warrant because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), and

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

acts or omissions in furtherance of the offenses under investigation occurred within Washington,

DC. See 18 U.S.C. § 3237.

                                           PROBABLE CAUSE

        7.      The probable cause for this warrant comes from suspected violations of the

Federal Riot Act, 18 U.S.C. § 2101, which reads, in part:

        (a) Whoever travels in interstate or foreign commerce or uses any facility of
        interstate or foreign commerce, including, but not limited to, the mail, telegraph,
        telephone, radio, or television, with intent--

                (1) to incite a riot; or

                (2) to organize, promote, encourage, participate in, or carry on a riot; or

                (3) to commit any act of violence in furtherance of a riot; or

                (4) to aid or abet any person in inciting or participating in or carrying on a
                riot or committing any act of violence in furtherance of a riot;

                and who either during the course of any such travel or use or thereafter
                performs or attempts to perform any other overt act for any purpose
                specified in subparagraph (A),(B), (C), or (D) of this paragraph—

                Shall be fined under this title, or imprisoned not more than five years, or
                both.




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         8.    Under 18 U.S.C. § 2102(a), the term "riot" means "a public disturbance involving

(1) an act or acts of violence by one or more persons part of an assemblage of three or more

persons, which act or acts shall constitute a clear and present danger of, or shall result in, damage

or injury to the property of any other person or to the person of any other individual or (2) a threat

or threats of the commission of an act or acts of violence by one or more persons part of an

assemblage of three or more persons having, individually or collectively, the ability of immediate

execution of such threat or threats, where the performance of the threatened act or acts of violence

would constitute a clear and present danger of, or would result in, damage or injury to the property

of any other person or to the person of any other individual."

                                          Twitter Account

         9.    On Thursday, May 28, 2020, law enforcement agencies in the District of Columbia

were made aware of a protests scheduled for May28 and 29, 2020, that were organized in response

to                                                                       and were promoted by the

SUBJECT TWITTER ACCOUNT, which contained an avatar of an individual, as shown below:




         10.   On May 28, 2020, and as shown below, the SUBJECT TWITTER ACCOUNT also

posted the following text:




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       11.     Your Affiant other law enforcement officers were assigned to observe and

coordinate resources for local law enforcement and the FBI in connection with protests within the

District of Columbia during this period, and your affiant and other officers personally observed

acts beginning on Friday, May 29, 2020, that appeared to satisfy the statutory definition of "riot,"

including the intentional burning of trees and trash cans, assaults on law enforcement with bricks

and glass bottles, the destruction of private property, including the smashing of glass on

storefronts, and the theft and looting of items from within stores, including at

       12.     On Saturday, May 30, 2020, and as shown below, the SUBJECT TWITTER

ACCOUNT tweeted,




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       13.    On Sunday, May 31, 2020, and as shown below, law enforcement observed that the

SUBJECT TWITTER ACCOUNT tweeted,




       14.    At some point after these tweets, the SUBJECT TWITTER ACCOUNT was

suspended based on an apparent violation of Twitter's terms of service.




       15.    Law enforcement submitted a preservation letter to Twitter, preserving the contents

of the SUBJECT TWITTER ACCOUNT.

       16.    Your Affiant used                    to review tweets and replies from the Subject

Account that were retained by Google.                     temporarily stores pages from websites,

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even if they are later altered, and is a useful open source method to view previous versions of

webpages.

       17.     Based on the the                review, your affiant observed that, under the tweet

from the SUBJECT TWITTER ACCOUNT advertising the

the user of Twitter account                  identified himself as

                                             The user of the SUBJECT TWITTER ACCOUNT

identified himself as




       18.     In the same review, your Affiant noted that two Twitter accounts cited concerns

regarding the event, stating that it was not a peaceful protest and suggesting Government buildings

be burned, as shown below.




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      19.   On a separate Twitter thread, the Twitter account for

                 tweeted that it had no affiliation with an event promoted by the Subject

Account, and, and the SUBJECT TWITTER ACCOUNT replied:




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       20.     Your Affiant notes that throughout law enforcement reporting, cached recovery,

and personal observation, the Twitter vanity name of the SUBJECT TWITTER ACCOUNT

changed from                                                                   Based on training,

investigative experience, and personal experience, however, your affiant knows the vanity name

on a Twitter account can be changed by a user and that changes do not typically reflect that a

different user is using the account.

                                           Instagram Account

       21.     During its investigation, law enforcement identified an Instagram account under the

name                 (the "SUBJECT INSTAGRAM ACCOUNT") which utilizes the same avatar

photo as the SUBJECT TWITTER ACCOUNT, as shown below.




       22.     The SUBJECT INSTAGRAM ACCOUNT contained 23 posts starting on May 27,

2020, and relating to protest activity in Washington, DC. For example, on May 28, 2020, and as

shown below, the SUBJECT INSTAGRAM ACCOUNT posted,

                                                                                           In the

comments section to the Instagram post, the user states,

                                                                   These stores are all located in

the                             where apparent rioting activity was observed




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      23.     The SUBJECT INSTAGRAM ACCOUNT also posted a photo of a television

screen showing what appears to have been                      of the account user regarding

protest activity, as well as an overhead photograph of protest activity.   Instagram user




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                            GoFundMe Page and User's True Name

         24.   The SUBJECT INSTAGRAM ACCOUNT has a web link to a GoFundMe page

that appears to have raised over     related to the protests referenced above. The creator of the

GoFundMe page is listed as                         and the creator identifies himself as



         25.   Law Enforcement database queries of                     provided a positive return

of

The                           for              is consistent with the photos from the SUBJECT

TWITTER ACCOUNT and the SUBJECT INSTAGRAM ACCOUNT.

         26.   Based on the information above, your affiant submits there is probable cause to

believe that violations of 18 U.S.C. § 2101 (Rioting) have been committed by the user of the

SUBJECT TWITTER ACCOUNT AND SUBJECT INSTAGRAM ACCOUNT, and that acts or

omissions in furtherance of the offenses under investigation occurred within Washington, DC.

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There is also probable cause to search the information described in Attachment A for evidence,

instrumentalities, contraband or fruits of these crimes further described in Attachment B.

               BACKGROUND CONCERNING PROVIDER’S ACCOUNTS

       27.     PROVIDER owns and operates a free-access social-networking website that can be

accessed at http://www.instagram.com. PROVIDER allows its users to create their own profile

pages, which can include a short biography, a photo of themselves, and other information. Users

can access Instagram through the Instagram website or by using a special electronic application

(“app”) created by the company that allows users to access the service through a mobile device.

       28.     PROVIDER permits users to post photos to their profiles on Instagram and

otherwise share photos with others on Instagram, as well as certain other social-media services,

including Flickr, Facebook, and Twitter. When posting or sharing a photo on Instagram, a user

can add to the photo: a caption; various “tags” that can be used to search for the photo (e.g., a user

made add the tag #vw so that people interested in Volkswagen vehicles can search for and find the

photo); location information; and other information. A user can also apply a variety of “filters” or

other visual effects that modify the look of the posted photos. In addition, Instagram allows users

to make comments on posted photos, including photos that the user posts or photos posted by other

users of Instagram. Users can also “like” photos.

       29.       Upon creating an Instagram account, an Instagram user must create a unique

Instagram username and an account password. This information is collected and maintained by

Instagram.

       30.     Instagram asks users to provide basic identity and contact information upon

registration and also allows users to provide additional identity information for their user profile.

This information may include the user’s full name, e-mail addresses, and phone numbers, as well



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as potentially other personal information provided directly by the user to Instagram. Once an

account is created, users may also adjust various privacy and account settings for the account on

Instagram. Instagram collects and maintains this information.

        31.     Instagram allows users to have “friends,” which are other individuals with whom

the user can share information without making the information public. Friends on Instagram may

come from either contact lists maintained by the user, other third-party social media websites and

information, or searches conducted by the user on Instagram profiles. Instagram collects and

maintains this information.

        32.     Instagram also allows users to “follow” another user, which means that they receive

updates about posts made by the other user. Users may also “unfollow” users, that is, stop

following them or block the, which prevents the blocked user from following that user.

        33.     Instagram allow users to post and share various types of user content, including

photos, videos, captions, comments, and other materials. Instagram collects and maintains user

content that users post to Instagram or share through Instagram.

        34.     Instagram users may send photos and videos to select individuals or groups via

Instagram Direct. Information sent via Instagram Direct does not appear in a user’s feed, search

history, or profile.

        35.     Users on Instagram may also search Instagram for other users or particular types of

photos or other content.

        36.     For each user, Instagram also collects and retains information, called “log file”

information, every time a user requests access to Instagram, whether through a web page or

through an app. Among the log file information that Instagram’s servers automatically record is

the particular web requests, any Internet Protocol (“IP) address associated with the request, type



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of browser used, any referring/exit web pages and associated URLs, pages viewed, dates and times

of access, and other information.

       37.     Instagram also collects and maintains “cookies,” which are small text files

containing a string of numbers that are placed on a user’s computer or mobile device and that

allows Instagram to collect information about how a user uses Instagram. For example, Instagram

uses cookies to help users navigate between pages efficiently, to remember preferences, and to

ensure advertisements are relevant to a user’s interests.

       38.     Instagram also collects information on the particular devices used to access

Instagram. In particular, Instagram may record “device identifiers,” which includes data files and

other information that may identify the particular electronic device that was used to access

Instagram.

       39.     Instagram also collects other data associated with user content. For example,

Instagram collects any “hashtags” associated with user content (i.e., keywords used), “geotags”

that mark the location of a photo and which may include latitude and longitude information,

comments on photos, and other information.

       40.     Instagram also may communicate with the user, by email or otherwise. Instagram

collects and maintains copies of communications between Instagram and the user.

       41.     As explained herein, information stored in connection with an Instagram account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, an

Instagram user’s account activity, IP log, stored electronic communications, and other data

retained by Instagram, can indicate who has used or controlled the Instagram account. This “user



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attribution” evidence is analogous to the search for “indicia of occupancy” while executing a

search warrant at a residence. For example, profile contact information, direct messaging logs,

shared photos and videos, and captions (and the data associated with the foregoing, such as geo-

location, date and time) may be evidence of who used or controlled the Instagram account at a

relevant time. Further, Instagram account activity can show how and when the account was

accessed or used. For example, as described herein, Instagram logs the Internet Protocol (IP)

addresses from which users access their accounts along with the time and date. By determining

the physical location associated with the logged IP addresses, investigators can understand the

chronological and geographic context of the account access and use relating to the crime under

investigation.    Such information allows investigators to understand the geographic and

chronological context of Instagram access, use, and events relating to the crime under

investigation. Additionally, Instagram builds geo-location into some of its services. Geo-location

allows, for example, users to “tag” their location in posts and Instagram “friends” to locate each

other. This geographic and timeline information may tend to either inculpate or exculpate the

Instagram account owner. Last, Instagram account activity may provide relevant insight into the

Instagram account owner’s state of mind as it relates to the offense under investigation. For

example, information on the Instagram account may indicate the owner’s motive and intent to

commit a crime (e.g., information indicating a plan to commit a crime), or consciousness of guilt

(e.g., deleting account information in an effort to conceal evidence from law enforcement).

       42.       Based on the information above, the computers of Instagram are likely to contain

all the material described above with respect to the SUBJECT INSTAGRAM ACCOUNT,

including stored electronic communications and information concerning subscribers and their use

of Instagram, such as account access information, which would include information such as the IP



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addresses and devices used to access the account, as well as other account information that might

be used to identify the actual user or users of the account at particular times.

                    REQUEST TO SUBMIT WARRANT BY TELEPHONE
                      OR OTHER RELIABLE ELECTRONIC MEANS.

       43.       I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for a Search Warrant. I submit that Assistant U.S. Attorney Luke

Jones, an attorney for the United States, is capable of identifying my voice and telephone number

for the Court.

                                          CONCLUSION.

       44.       Based on the forgoing, I request that the Court issue the proposed search warrant.

Because the warrant will be served on PROVIDER, who will then compile the requested records

at a time convenient to it, there exists reasonable cause to permit the execution of the requested

warrant at any time in the day or night. Pursuant to 18 U.S.C. § 2703(g), the presence of a law

enforcement officer is not required for the service or execution of this warrant.

                                                    Respectfully submitted,




       Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on June 26th, 2020
                      /S-.-       2020.06.26 18:50:11 -04'00'

       Robin M. Meriweather
       UNITED STATES MAGISTRATE JUDGE




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